985 F.2d 553
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph BETHEA, Petitioner-Appellant,v.R.E. HONSTED, Warden;  United States Parole Commission,Respondents-Appellees.
    No. 92-6025.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 8, 1992.Decided Jan. 13, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   James R. Spencer, District Judge.  (CA-91-617-R)
      Joseph Bethea, appellant pro se.
      Melissa S. Mundell, Paul Gregory Justice, Office of the U.S. Atty., Savannah, GA, for respondents-appellees.
      E.D.Va.
      AFFIRMED.
      Before MURNAGHAN and HAMILTON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Joseph Bethea appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2241 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Bethea v. Honsted, No. CA-91-617-R (E.D.Va. Dec. 30, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.*
    
    
      2
      AFFIRMED.
    
    
      
        *
         The various motions to supplement the record are granted.   The panel considered the supplemental materials in reaching its decision
      
    
    